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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 West Bend Mutual Insurance Company,
                                                    Civil No. 0:19-cv-02346 PJS/ECW
                      Plaintiff,

 v.
                                                       ORDER FOR DISMISSAL
 Laurie Gregor, N.M. by Crystal and                    WITHOUT PREJUDICE
 Brendan McNally, Crystal McNally, in her
 individual capacity, and Brendan McNally,
 in his individual capacity,

                      Defendants.


                                         ORDER

       Based upon the Stipulation for Dismissal without Prejudice entered into by the

parties (Docket No. 18), and upon all of the files, records, and proceedings herein,

       IT IS HEREBY ORDERED that all of the claims in the above-entitled action are

hereby dismissed without prejudice, and without fees, costs, or disbursements to any party.

       LET JUDGMENT OF DISMISSAL WITHOUT PREJUDICE BE ENTERED

ACCORDINGLY.


                                          BY THE COURT:



Dated: December 18, 2019                  s/Patrick J. Schiltz
                                          The Honorable Patrick J. Schiltz
                                          Judge, United States District Court
                                          District of Minnesota




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